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          Exhibit B
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                                                                              1200 New Jersey Ave., SE
                                                                                Washington, DC 20590


                                      February 20, 2025


Marie Therese Dominguez, Commissioner
New York State Department of Transportation
50 Wolf Road
Albany, NY 12232

Ydanis Rodriguez, Commissioner
New York City Department of Transportation
55 Water Street, 9th Floor
New York, NY 10041

Catherine T. Sheridan, President
MTA Bridges and Tunnels
2 Broadway, 23rd Floor
New York, NY 10004

Dear Commissioner Dominguez, Commissioner Rodriguez, and President Sheridan:

I am writing pursuant to Secretary Duffy’s February 19, 2025, letter terminating the November
21, 2024 Value Pricing Pilot Program (VPPP) Agreement under which the Federal Highway
Administration (FHWA) has approved the implementation of tolls as part of the New York’s
Central Business District Tolling Program (CBDTP). The Secretary’s letter stated that the
FHWA will contact the New York State Department of Transportation (NYSDOT) and its
project sponsors, Triborough Bridge and Tunnel Authority (TBTA) and New York City
Department of Transportation (NYCDOT), to discuss the orderly cessation of toll operations
under the CBDTP.

In order to provide NSYDOT and its project sponsors time to terminate operations of this pilot
project in an orderly manner, this rescission of approval and termination of the November 21,
2024 Agreement will be effective on March 21, 2025. Accordingly, NYSDOT and its project
sponsors must cease the collection of tolls on Federal-aid highways in the CBDTP area by March
21, 2025. Please work with Rick Marquis, the FHWA’s New York Division Administrator, to
provide the necessary details and updates regarding the cessation of toll operations.

                                            Sincerely,



                                            Gloria M. Shepherd
                                            Executive Director
